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  The relief described hereinbelow is SO ORDERED.

  Signed August 06, 2020.


                                                     __________________________________
                                                                  Ronald B. King
                                                       Chief United States Bankruptcy Judge




                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

         IN RE:                                      §       CHAPTER 11
                                                     §
         KRISJENN RANCH, LLC, et al                  §       CASE NO. 20-50805-rbk
                                                     §
                                                     §
                 DEBTOR                              §       (Jointly Administered)

      ORDER SETTING EXPEDITED HEARING OF DEBTORS’ JOINT EXPEDITED
                MOTION TO EXTEND DEBTORS’ EXCLUSIVITY
                           PERIOD BY 90 DAYS


         On Consideration of K KrisJenn Ranch, LLC, KrisJenn Ranch, LLC Series Pipeline ROW,

  and KrisJenn Ranch, LLC Series Uvalde Ranch’s, Motion Requesting Expedited Consideration of

  Debtor’s Joint Motion to Extend Debtors’ Exclusivity Period by 90 Days, and it appearing to the

  Court that notice was sufficient under the circumstances and that the relief sought should be

  granted; it is hereby

         ORDERED that the Motion is granted as set forth herein; and it is further
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  ORDERED THAT this expedited hearing will be heard on August 17, 2020

  @10:30am. Via TELEPHONE -- NO “IN PERSON” APPEARANCE IS REQUIRED

  UNTIL AN EVIDENTIARY HEARING IS REQUESTED. Parties DO NOT need to

  email for authority to appear by telephone for this matter. The conference call in

  number is 888-278-0296, access code: 9198559.

  it is further


          ORDERED that the Movant shall give notice of this expedited hearing by forwarding a

  copy of this Order by email, facsimile transmission, or telephone, if possible, to all parties

  listed on the Service List attached to the motion, and shall evidence such service by the

  filing of a certificate of service with the Court prior to the scheduled hearing.



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  Respectfully submitted,


  MULLER SMEBERG, PLLC

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  ATTORNEY FOR DEBTOR




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